Case:18-10965-TBM Doc#:94 Filed:05/07/18               Entered:05/07/18 16:09:37 Page1 of 3



                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                           Bankruptcy Judge Thomas B. McNamara


  In re:
                                                   Bankruptcy Case No. 18-10965 TBM
  11380 SMITH RD LLC,                              Chapter 11


  Debtor.


  11380 EAST SMITH RD INVESTMENTS,
  LLC,

  Movant,

  v.

  11380 SMITH RD LLC,

  Respondent.
 ____________________________________________________________________________

ORDER CONTINUING HEARINGS ON: (A) THE COMBINED MOTION FOR RELIEF
FROM STAY AND MOTION TO DISMISS THIS CHAPTER 11 CASE PURSUANT TO
    11 U.S.C. § 1112(b); AND (B) THE ADEQUACY OF DEBTOR’S DISCLOSURE
                    STATEMENT AND OBJECTIONS THERETO
 ____________________________________________________________________________

        THIS MATTER comes before the Court on the “Joint Motion to Continue the May 8,
2018, Hearings on: (A) the Debtor’s Disclosure Statement Dated March 23, 2018 (Docket No.
54); and (B) 11380 East Smith RD Investments, LLC’s Motion: (I) For Relief from the
Automatic Stay Pursuant to Section 362(d)(1) of the Bankruptcy Code; and (II) to Dismiss this
Chapter 11 Bankruptcy Case for Bad Faith Pursuant to Section 1112(b) of the Bankruptcy Code
(Docket No. 75)” (Docket No. 93, the “Motion to Continue”). The Motion to Continue was filed
jointly by the Debtor and 11380 East Smith RD Investments, LLC (the “Lender”). The Court,
being hereby advised in the premises,

        FINDS that the Lender expressly waived its right under Section 362(e)(1) to a hearing
within 30 days of the filing of its Motion for Relief from Stay and is deemed by its Motion to
Continue to have waived its rights under Section 362(e)(2) to relief within 60 days of the filing
of the Motion for Relief from Stay if the court has not rendered final decision within that 60 day
period;

       FURTHER FINDS that the Lender elected to prosecute its Motion to Dismiss in
Case:18-10965-TBM Doc#:94 Filed:05/07/18               Entered:05/07/18 16:09:37 Page2 of 3



accordance with L.B.R. 2081-3, which was promulgated by this Court to provide a procedure
which permits compliance with the expedited hearing requirement of Section 1112(b)(3);

        FURTHER FINDS that the Lender by its Motion to Continue has waived its rights under
Section 1112(b)(3) to a hearing not later than 30 days after the filing of the Motion to Dismiss,
and to a decision on the Motion to Dismiss by the Court within 15 days after the commencement
of a hearing on the Motion to Dismiss; and

        FURTHER FINDS that the Debtor and Lender represent that the United States Trustee
(the “UST”) who filed an objection to the Debtor’s Disclosure Statement (Docket No. 54 and 60)
indicated that he does not object to the short continuance proposed in the Motion to Continue.
Accordingly, the Court:

       ORDERS that the Motion to Continue is GRANTED. The hearing on the Movant’s
Motion for Relief from Stay set to commence at 9:00 a.m. on TUESDAY, MAY 8, 2018, is
VACATED and CONTINUED to THURSDAY, MAY 17, 2018, at 9:30 a.m., in Courtroom E,
United States Bankruptcy Court, U.S. Custom House, 721 19th Street, Denver, Colorado 80202;

       FURTHER ORDERS the hearing on the Lender’s Motion to Dismiss set to commence at
9:00 a.m. on TUESDAY, MAY 8, 2018, is VACATED and CONTINUED to THURSDAY,
MAY 17, 2018, at 9:30 a.m., in Courtroom E, United States Bankruptcy Court, U.S. Custom
House, 721 19th Street, Denver, Colorado 80202;

        FURTHER ORDERS that the stay provided for under 11 U.S.C. § 362(a) is continued in
effect until the conclusion of the continued hearing set above, unless otherwise ordered;

        FURTHER ORDERS that in the event that the parties reach a resolution of the Motion
for Relief from Stay and the Motion to Dismiss, the parties shall file their Stipulation, and an
appropriate form of order no later than 3:00 p.m. on TUESDAY, MAY 15, 2018;

        FURTHER ORDERS that the foregoing continued hearing will not be further continued
absent compelling circumstances. Any such motion to permit further continuance must be filed
no later than 3:00 p.m. on TUESDAY, MAY 15, 2018;

       FURTHER ORDERS that if the parties do not reach a resolution of the Motion for Relief
from Stay and the Motion to Dismiss as represented and intend to proceed with the continued
hearing, they shall comply with L.B.R. 4001-1(c)(2) in advance of the continued hearing and the
Lender must file a Notice of Intention to proceed with the continued hearing no later than 3:00
p.m. on TUESDAY, MAY 15, 2018;

      FURTHER ORDERS that the continued hearing on the Motion for Relief from Stay and
the Motion to Dismiss will be conducted in accordance with L.B.R. 4001-1(c); and

       FURTHER ORDERS that the hearing on the adequacy of the Debtor’s Disclosure
Statement and the objections filed thereto by the Lender and the UST set to commence on
TUESDAY, MAY 8, 2018, at 10:00 a.m. is VACATED and CONTINUED to THURSDAY,
Case:18-10965-TBM Doc#:94 Filed:05/07/18            Entered:05/07/18 16:09:37 Page3 of 3



MAY 17, 2018, at 9:30 a.m., in Courtroom E, United States Bankruptcy Court, U.S. Custom
House, 721 19th Street, Denver, Colorado 80202; and

       FURTHER ORDERS that if the Lender fails to comply with the foregoing deadlines, the
Motion for Relief from Stay and Motion to Dismiss will be denied, without prejudice, and the
continued hearing on both motions will be vacated. The hearing on the adequacy of the Debtor’s
Disclosure Statement and the objections thereto will proceed as set on THURSDAY, MAY 17,
2018, at 9:30 a.m.

       Dated this 7th day of May, 2018.           BY THE COURT:


                                                  ____________________________________
                                                  Thomas B. McNamara
                                                  United States Bankruptcy Judge
